
Van Brunt, P. J.
I concur in the conclusion arrived at by Mr. Justice Follett in the case at bar. I cannot, however, concur in the statement in his opinion, as applicable to this case, that, the supreme.court being a court of general jurisdiction, its jurisdiction must be presumed, and cannot be questioned unless the want of jurisdiction is shown at the trial, or appears upon the record. In respect to foreign corporations, the supreme .court has never been a court of general jurisdiction. It has no jurisdiction of actions against foreign corporations, except such as is conferred by statute. Hence the rule which ordinarily applies to-this court, as a court of general jurisdiction, cannot obtain in actions against foreign corporations. It must appear somewhere-in the record that jurisdiction exists. The pleader, in drawing the complaint in the case at bar, evidently understood this position, because he alleges that the defendant is a foreign corporation, and that the plaintiff is a resident of the state of New York, bringing himself within the class of persons who may resort to the courts of this state for the purpose of redressing wrongs-received by them from foreign corporations. This allegation &lt; in regard to the residence of the plaintiff is presumed, under the ordinary rules governing allegations of time in a complaint, to refer to the conditions existing when the action was begun, unless it appears otherwise from the pleading. It is true that this allegation of residence was denied by the answer, but the record contains evidence in regard to the-residence of the plaintiff, and no objection seems to have been taken at the trial that this allegation of the complaint was not proven. We majr therefore fairly infer that all claim in that behalf was abandoned, no point having been made in respect thereto, .and that the evidence, meager as it is, was considered sufficient. Under these circumstances it is too late now to raise the question of residence, and claim want of jurisdiction because that fact is not established. It is undoubtedly true that, if the record had contained evidence showing that this plaintiff was not a resident of this state at the time of the commencement of the action, the court might at any stage of the ac*863tian, of its own motion, raise the question and dismiss the action. Robinson v. Oceanic Navigation Co., 112 N. Y. 315; 20 St. Rep. 741. For the other reasons stated in the opinion of Mr. Justice Follett, I concur in the affirmance of the judgment.
